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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CR 314-002
                                                 )
CHRISTOPHER PAUL WILLIS                          )


                                           ORDER


       Before the Court are the various pre-trial discovery motions filed by the parties. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief by October 20, 2014.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with investigative reports, Defendant’s criminal

history, audio and video recordings, and other documentary materials as set forth in the First

Certificate of Disclosure. (Doc. no. 173; doc. no. 226, p. 1.) Accordingly, the Court finds that

the position of the United States Attorney in permitting liberal disclosure of the government’s

file pertaining to this case renders the general discovery requests MOOT. (Doc. no. 64.)
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       MOTION FOR ACCESS TO PROSPECTIVE GOVERNMENT WITNESSES

       Defendant seeks access to prospective government witnesses for the purpose of

interviewing such witnesses within a reasonable time prior to trial. (Doc. no. 65.) Although the

government is not required to make its witnesses available, neither may it interfere with defense

counsel’s right to interview prospective witnesses. United States v. Manor, 936 F.2d 1238, 1242

(11th Cir. 1991); United States v. Pepe, 747 F.2d 632, 654 (11th Cir. 1984). However, a

government witness may refuse to be interviewed by defense counsel. United States v. Bennett,

928 F.2d 1548, 1553-54 (11th Cir. 1991) (citing United States v. Brown, 555 F.2d 407, 425 (5th

Cir. 1977) and United States v. Benson, 495 F.2d 475, 479 (5th Cir. 1974)). Recognizing that

the government does not “control” its witnesses and does not oppose defense counsel’s contact

with witnesses, the Court GRANTS the motion to interview as to any witness who chooses to

speak with defense counsel prior to trial.

                   MOTION FOR LIST OF GOVERNMENT WITNESSES

       Defendant requests an order directing the government to furnish a complete list of

witnesses. In non-capital cases such as this case, a defendant is generally not entitled to a list of

government witnesses. United States v. Massell, 823 F.2d 1503, 1509 (11th Cir. 1987); United

States v. Johnson, 713 F.2d 654, 659 (11th Cir. 1983); United States v. Colson, 662 F.2d 1389,

1391 (11th Cir. 1981). While this Court retains the right to exercise its discretion in permitting

Defendant to have access to a list of government witnesses, at most the government would be

required to comply with this request not more than fourteen days prior to trial. Therefore, the

Court DENIES this motion. (Doc. no. 66.) However, as a practical matter, it would appear that

Defendant will be receiving much of this information because of the government’s liberal

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discovery policy and because of the government’s obligation to disclose material pursuant to the

Jencks Act and/or Brady v. Maryland, 373 U.S. 83 (1963).

                         MOTION FOR A BILL OF PARTICULARS

       Defendant is charged with one count of Conspiracy to Possess with Intent to Distribute

and to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846, and

seven counts of Use of a Communication Facility in committing, causing, and facilitating the

charged conspiracy, in violation of 21 U.S.C. § 843(b). Defendant filed this motion seeking

from the government information concerning the exact time and date the alleged crimes as set

forth in the indictment occurred; the specific nature of the acts Defendant is alleged to have

performed in furtherance of the allegations in the indictment; the acts of any other co-defendant

performed in furtherance of the conspiracy alleged in the indictment; and, the names of any

persons to whom Defendant may have made statements in reference to the crimes alleged in the

indictment. (Doc. no. 67, p. 1.)

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that a defendant may seek

from the Court a bill of particulars setting forth the time, place, manner, and means of

commission of the crime alleged in the indictment. The purpose of the bill of particulars is to

give notice of the offenses charged in the indictment so that a defendant may prepare a defense,

avoid surprise, or raise pleas of double jeopardy when the indictment itself is too vague for such

purposes. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (quoting United

States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). Where necessary, the bill of particulars

supplements the indictment by providing the accused with information necessary for trial

preparation. Id. Generalized discovery is not a proper purpose in seeking a bill of particulars.

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United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985) (quoting United States v. Colson,

662 F.2d 1389, 1391 (11th Cir. 1981)). Nor is it a device intended to secure for the defense the

government’s explanation of its theory of the case. United States v. Hajecate, 683 F.2d 894, 898

(5th Cir. 1982). Absent a showing that a defendant cannot prepare a defense without the

government providing the identity or identities of an unindicted co-conspirator(s), such

information need not be revealed in response to a motion for a bill of particulars. Warren, 772

F.2d at 837.

       The determination of whether a bill of particulars should be ordered may only be decided

in light of the particular circumstances of each case. United States v. Davis, 582 F.2d 947, 951

(5th Cir. 1987). The question is committed to the sound discretion of the trial court whose

decision will be reversed only where denial of the motion results in surprise to a defendant at

trial resulting in prejudice to his substantial rights. United States v. Hawkins, 661 F.2d 436, 451-

52 (5th Cir. Unit B Nov. 1981). The indictment in the case is specific and supports each of the

requisite elements of the charged offenses. In addition, the government has provided liberal

discovery consisting of investigative reports, Defendant’s criminal history, audio and video

recordings, and other documentary materials as set forth in the First Certificate of Disclosure

(doc. no. 173). Because the government appears to have provided all information essential for

trial preparation by the defense, the Court DENIES Defendant’s motion. (Doc. no. 67.)

                       MOTION FOR PRE-TRIAL JAMES HEARING

       Defendant moves for a pre-trial hearing to determine the admissibility of out-of-court

statements by alleged co-conspirators. To lay the proper foundation for admission of a co-

conspirator statement pursuant to Federal Rule of Evidence 801(d)(2)(E) and under the standard

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enunciated in United States v. James, 590 F.2d 575, 582 (5th Cir. 1978) ( en banc), “the

government must establish by a preponderance of the evidence: (1) that a conspiracy existed, (2)

that the defendant and the declarant were members of the conspiracy, and (3) that the statement

was made during the course and in furtherance of the conspiracy.” United States v. Harrison,

246 F. App’x 640, 651 (11th Cir. 2007). However, as the trial court may consider both co-

conspirator statements and independent external evidence in making a determination on

admissibility, a pre-trial determination under James is not required. United States v. Magluta,

418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Van Hemelryck, 945 F.2d 1493, 1497-

98 (11th Cir. 1991). Thus, the required finding need not be made pre-trial and can be made at

the close of the government’s case in chief. United States v. Johnson, No. 2:12cr84-MHT, 2012

WL 5392267, at *2 (M.D. Ala. Nov. 5, 2012) (citing United States v. Sanchez, 722 F.2d 1501,

1507 (11th Cir. 1984)). Indeed, the Supreme Court has ruled that a trial court may examine

hearsay statements prior to admission when making a preliminary factual determination under

Rule 801(d)(2)(E) and further explained, “the judge should receive the evidence and give it such

weight as his judgment and experience counsel.” Bourjaily v. United States, 483 U.S. 171, 181

(1987) (citation omitted).

       As the need for a James hearing is lessened in light of Bourjaily, and in the interest of

judicial economy, this determination will be made at trial. Therefore, the Court DENIES the

motion for a pre-trial James hearing. (Doc. no. 69.)




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                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 70.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.

          MOTION TO COMPEL DISCLOSURE OF PROMISES OF IMMUNITY

        Defendant moves to compel disclosure by the government of any promises for immunity,

leniency or preferential treatment made to any prosecution witness, informant or cooperating

defendant, including copies of applicable indictments and plea agreements. The government has

agreed to provide this material to the defense pursuant to its continuing obligation under Brady v.

Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972), (doc. no. 226,

p. 3), thereby making this motion MOOT. (Doc. no. 72.)

           MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

        The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant with

statements of witnesses immediately following their testimony in court. There is no authority for

the Court to grant an early release or disclosure of that material. United States v. Schier, 438


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F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215, 1251 & n.78 (11th

Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir. 1980). Yet because the

government does not oppose the motion and early disclosure of Jencks Act material will avoid

unnecessary delay and inconvenience to the Court and jury, the government is INSTRUCTED

to provide Jencks Act material fourteen days prior to trial. (Doc. no. 73.)

                  MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        The Court GRANTS this motion. (Doc. no. 74.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

                           MOTION TO PROVIDE TRANSCRIPTS
                            OF GRAND JURY PROCEEDINGS

        Defendant moves to disclose grand jury proceedings, including a transcript thereof. As

the government states that it is making the grand jury transcripts available in this case (doc. no.

226, p. 1), the motion is MOOT. (Doc. no. 76.)

                MOTION FOR NOTICE BY THE GOVERNMENT OF THE
               INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
                 PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

        Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 77)

because the Court, in its Arraignment Order, directed the government to provide such notice in

accordance with the Local Rules.

                                  DEMAND FOR JURY TRIAL

        The Court GRANTS this motion. (Doc. no. 79.)


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                         MOTION TO DETERMINE EXISTENCE OF
                         CONFIDENTIAL INFORMANT OR SOURCE

          Defendant seeks disclosure of confidential informants. The government intends to

disclose, ten days prior to trial, the identity of any informant used in the case, and if any such

informant is to testify at trial, the government will provide the witness-informant’s criminal

history and relevant materials under Giglio v. United States, 405 U.S. 150 (1972). (Doc. no. 226,

p. 3.)

          Where the informant was not an active participant in the criminal activity, disclosure is

not required. Roviaro v. United States, 353 U.S. 53, 61-63 (1957); United States v. Gutierrez,

931 F.2d 1482, 1490-91 (11th Cir. 1991); United States v. Parikh, 858 F.2d 688, 696 (11th Cir.

1988); United States v. Moreno, 588 F.2d 490, 494 (5th Cir. 1979). To the extent that it has not

already done so, the government must disclose the identity of any informant who played an

active role in the criminal activity charged against Defendant at least fourteen days prior to trial. 1

Such disclosure will ensure an adequate opportunity for Defendant to prepare for trial and

obviate any need for an in camera showing by the government pursuant to Federal Rule of

Criminal Procedure 16(d). See United States v. Kerris, 748 F.2d 610, 614 (11th Cir. 1984) (re-

iterating circuit precedent that in camera hearing not automatically required when informant

identity requested); United States v. Acosta, 807 F. Supp.2d 1154, 1272-73 (N.D. Ga. 2011).

The Court GRANTS Defendant’s request for disclosure of informants, as set forth herein. (Doc.

no. 82.)


           1
         If defense counsel determines she needs to apply for subpoenas based on information provided
about an informant, this fourteen-day time period should allow counsel sufficient time to comply with this
Court’s instructions to apply for subpoenas no later than ten work days prior to trial. (See doc. no. 63, p.
2.)
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                         MOTION FOR RECIPROCAL DISCOVERY

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant

intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness to

provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion (doc. no. 225), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 14th day of October, 2014, at Augusta, Georgia.




                                                               Lkk
                                                              BRIAN K E S
                                                              UNITED STATES MAGISTRATE JUDGE
                                                              SOUTHERN DISTRICT OF GEORGIA




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